Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 1 of 6
Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 2 of 6
Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 3 of 6
Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 4 of 6
Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 5 of 6
Case 1:15-cr-00055-LG-RHW   Document 236   Filed 09/16/16   Page 6 of 6
